Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 1 of 12 Page ID #:407



    1   JENNER & BLOCK LLP
        Andrew J. Thomas (Cal. Bar No. 159533)
    2   ajthomas@jenner.com
        Andrew G. Sullivan (Cal. Bar No. 301122)
    3   agsullivan@jenner.com
        633 West 5th Street, Suite 3600
    4   Los Angeles, CA 90071
        Telephone: (213) 239-5100
    5   Facsimile: (213) 239-5199
    6   JENNER & BLOCK LLP
        Kenneth L. Doroshow (admitted pro hac vice)
    7   kdoroshow@jenner.com
        Devi M. Rao (admitted pro hac vice)
    8   drao@jenner.com
        1099 New York Avenue, NW, Suite 900
    9   Washington, D.C. 20001
   10   Telephone: (202) 639-6000
        Facsimile: (202) 639-6066
   11
        Attorneys for All Defendants
   12

   13                      UNITED STATES DISTRICT COURT
   14                    CENTRAL DISTRICT OF CALIFORNIA
   15

   16   KEVIN RISTO, on behalf of himself            Case No. 2:18-cv-07241-CAS-PLA
   17
        and all others similarly situated,
                                                     Class Action
   18                  Plaintiff,
                                                     ANSWER TO FIRST
   19   vs.                                          AMENDED COMPLAINT
   20   SCREEN ACTORS GUILD-
   21   AMERICAN FEDERATION OF
        TELEVISION AND RADIO
   22
        ARTISTS, a Delaware corporation;
   23   AMERICAN FEDERATION OF
        MUSICIANS OF THE UNITED
   24
        STATES AND CANADA, a California
   25   nonprofit corporation; RAYMOND M.
        HAIR, JR., an individual, as Trustee of
   26
        the AFM and SAG-AFTRA Intellectual
   27   Property Rights Distribution Fund;
        TINO GAGLIARDI, an individual, as
   28
        Trustee of the AFM and SAG-AFTRA


                                    ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 2 of 12 Page ID #:408


    1   Intellectual Property Rights
    2   Distribution Fund; DUNCAN
        CRABTREE-IRELAND, an individual,
    3   as Trustee of the AFM and SAG-
    4   AFTRA Intellectual Property Rights
        Distribution Fund; STEFANIE TAUB,
    5   an individual, as Trustee of the AFM
    6   and SAG-AFTRA Intellectual Property
        Rights Distribution Fund; JON JOYCE,
    7   an individual, as Trustee of the AFM
    8   and SAG-AFTRA Intellectual Property
        Rights Distribution Fund; BRUCE
    9   BOUTON, an individual, as Trustee
   10   of the AFM and SAG-AFTRA
        Intellectual Property Rights
   11   Distribution Fund; and DOE
   12   DEFENDANTS 1-10,
   13                  Defendants.
   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28



                                ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 3 of 12 Page ID #:409



    1         Defendants Screen Actors Guild-American Federation of Television and
    2   Radio Artists (“SAG-AFTRA”), American Federation of Musicians of the United
    3   States and Canada (“AFM”), Raymond M. Hair, Jr., Tino Gagliardi, Duncan
    4   Crabtree-Ireland, Stefanie Taub, Jon Joyce, and Bruce Bouton (collectively,
    5   “Defendants”), by and through their attorneys, hereby answer Plaintiff’s First
    6   Amended Complaint (the “Complaint”) and state as follows:
    7                              FACTUAL BACKGROUND
    8   1.    The first two sentences of Paragraph 1 of the Complaint constitute Plaintiff’s
    9   characterization of federal law and otherwise state legal conclusions to which no
   10   response is required.    Defendants respectfully refer the Court to the statutory
   11   provisions cited in Paragraph 1 for a complete statement of their contents.
   12   Defendants deny the allegations in the third sentence of Paragraph 1.
   13        2.      Paragraph 2 of the Complaint contains Plaintiff’s characterization of
   14   federal law and otherwise states legal conclusions to which no response is required.
   15   Defendants respectfully refer the Court to the statutory provisions cited in Paragraph
   16   2 for a complete statement of their contents.
   17        3.      Paragraph 3 of the Complaint contains no factual allegations and
   18   accordingly no response is required.
   19        4.      Paragraph 4 of the Complaint contains Plaintiff’s characterization of
   20   federal law and otherwise states legal conclusions to which no response is required.
   21   Defendants respectfully refer the Court to the statutory provisions cited in Paragraph
   22   4 for a complete statement of their contents.
   23         5.     Defendants admit that the AFM & SAG-AFTRA Intellectual Property
   24   Rights Distribution Fund (the “Fund”) is a section 501(c)(6) not-for-profit
   25   organization whose purpose is to collect and distribute royalties from various foreign
   26   territories as well as royalties established by federal statute under U.S. Copyright
   27   Law to certain vocalists and musicians. Except as so admitted, Defendants deny the
   28   allegations in Paragraph 5 of the Complaint.

                                                  1
                                   ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 4 of 12 Page ID #:410


    1       6.       Paragraph 6 of the Complaint contains Plaintiff’s characterization of
    2   federal law and otherwise states a legal conclusion to which no response is required.
    3   Defendants respectfully refer the Court to the statutory provisions cited in Paragraph
    4   6 for a complete statement of their contents.
    5       7.       Defendants admit the allegations in Paragraph 7 of the Complaint.
    6       8.       Defendants admit the allegations in the first sentence of Paragraph 8 of
    7   the Complaint. The second sentence of Paragraph 8 contains no factual allegations
    8   and accordingly no response is required.
    9       9.       Defendants deny the allegations in the first sentence of Paragraph 9 of
   10   the Complaint. Defendants admit that the Trustees are not paid any salary by the
   11   Fund for their service as Trustees. The remaining allegations in Paragraph 9 state
   12   legal conclusions to which no response is required.
   13       10.      Paragraph 10 of the Complaint contains Plaintiff’s characterization of
   14   a document which is the best evidence of its own terms. Paragraph 10 also states
   15   legal conclusions to which no response is required. To the extent any response is
   16   required, Defendants admit that the Trustees of the Fund owe fiduciary duties to the
   17   Fund participants, and Defendants deny the remaining allegations in Paragraph 10.
   18       11.      Defendants admit that the Fund entered into a Data Purchase and
   19   Services Agreement (the “Services Agreement”) dated July 22, 2013. To the extent
   20   Paragraph 11 of the Complaint purports to quote the Services Agreement, the
   21   document itself is the best evidence of its terms. Accordingly, no further response
   22   is required to Paragraph 11.
   23       12.      Paragraph 12 of the Complaint contains no factual allegations and
   24   accordingly no response is required.
   25       13.      Defendants deny the allegations in Paragraph 13 of the Complaint.
   26       14.      Defendants admit that the fee implemented by the Services Agreement
   27   (the “Services Fee”) is an expense item deducted from the Fund. Except as so
   28   admitted, Defendants deny the allegations in Paragraph 14 of the Complaint.

                                                   2
                                   ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 5 of 12 Page ID #:411


    1       15.      Defendants deny the allegations in Paragraph 15 of the Complaint.
    2       16.      Defendants admit that under the Services Agreement, AFM and SAG-
    3   AFTRA (the “Unions”) provide certain information and services for the benefit of
    4   the Fund. Except as so admitted, Defendants deny the allegations in Paragraph 16
    5   of the Complaint.
    6       17.      Defendants deny the allegations in Paragraph 17 of the Complaint.
    7       18.      Defendants deny the allegations in Paragraph 18 of the Complaint.
    8       19.      Defendants deny the allegations in Paragraph 19 of the Complaint.
    9       20.      Defendants deny the allegations in Paragraph 20 of the Complaint.
   10       21.      Defendants deny the allegations in Paragraph 21 of the Complaint.
   11       22.      Defendants deny the allegations in Paragraph 22 of the Complaint.
   12       23.      Paragraph 23 characterizes the relief sought by Plaintiff on behalf of
   13   himself and the putative class he seeks to represent. No responsive pleading is
   14   necessary in response to Plaintiff’s request for relief. To the extent a response is
   15   required, Defendants deny that Plaintiff and the putative class are entitled to the
   16   relief sought, and further assert that judgment should be entered in Defendants’
   17   favor.
   18                               JURISDICTION AND VENUE
   19       24.      Defendants admit that the United States District Court for the Central
   20   District of California has jurisdiction over this action. Defendants further admit that
   21   the Fund has offices in Valley Village, California and conducts activities in
   22   California. Except as so admitted, Defendants deny the allegations in Paragraph 24
   23   of the Complaint.
   24       25.      Defendants admit the allegations in Paragraph 25 of the Complaint.
   25       26.      Defendants admit that venue is proper in the Central District of
   26   California. Except as so admitted, Defendants deny the allegations in Paragraph 26
   27   of the Complaint.
   28


                                                   3
                                    ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 6 of 12 Page ID #:412


    1                                          PARTIES
    2       27.      Defendants lack knowledge or information sufficient to form a belief
    3   as to the truth of the allegations in Paragraph 27 of the Complaint and, on that basis,
    4   deny such allegations.
    5       28.      Defendants admit the allegations in Paragraph 28 of the Complaint.
    6       29.      Defendants admit the allegations in Paragraph 29 of the Complaint.
    7       30.      Defendants admit that Raymond M. Hair, Jr. is a Trustee of the Fund
    8   and that he is the President of AFM. Except as so admitted, Defendants deny the
    9   allegations in Paragraph 30 of the Complaint.
   10       31.      Defendants admit the allegations in Paragraph 31 of the Complaint.
   11       32.      Defendants admit the allegations in Paragraph 32 of the Complaint.
   12       33.      Defendants admit that Stefanie Taub is a resident of the State of
   13   California, that she is a former Trustee of the Fund, and that she currently serves as
   14   Chief Executive Officer of the Fund. Except as so admitted, Defendants deny the
   15   allegations in Paragraph 33 of the Complaint.
   16       34.      Defendants admit the allegations in Paragraph 34 of the Complaint.
   17       35.      Defendants admit that Bruce Bouton is a Trustee of the Fund. Except
   18   as so admitted, Defendants deny the allegations in Paragraph 35 of the Complaint.
   19       36.      Paragraph 36 of the Complaint contains no factual allegations and
   20   accordingly no response is required.
   21       37.      Defendants lack knowledge or information sufficient to form a belief
   22   as to the truth of the allegations in Paragraph 37 of the Complaint and, on that basis,
   23   deny such allegations.
   24       38.      Defendants deny the allegations in Paragraph 38 of the Complaint.
   25                            CLASS ACTION ALLEGATIONS
   26       39.      Defendants admit that Plaintiff purports to bring this action on behalf
   27   of himself and certain putative class members. Defendants deny the remaining
   28


                                                   4
                                    ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 7 of 12 Page ID #:413


    1   allegations of Paragraph 39 of the Complaint and further deny that class certification
    2   is appropriate.
    3       40.      Defendants admit that Plaintiff purports to bring this action on behalf
    4   of himself and certain putative class members. Defendants deny the remaining
    5   allegations of Paragraph 40 of the Complaint and further deny that class certification
    6   is appropriate.
    7       41.      Paragraph 41 of the Complaint consists of legal conclusions to which
    8   no response is required. To the extent a response is required, Defendants deny the
    9   allegations in Paragraph 41.
   10       42.      Paragraph 42 of the Complaint consists of legal conclusions to which
   11   no response is required. To the extent a response is required, Defendants deny the
   12   allegations in Paragraph 42.
   13       43.      Paragraph 43 of the Complaint consists of legal conclusions to which
   14   no response is required. To the extent a response is required, Defendants deny the
   15   allegations in Paragraph 43.
   16       44.      Paragraph 44 of the Complaint consists of legal conclusions to which
   17   no response is required. To the extent a response is required, Defendants deny the
   18   allegations in Paragraph 44.
   19       45.      Paragraph 45 of the Complaint consists of legal conclusions to which
   20   no response is required. To the extent a response is required, Defendants deny the
   21   allegations in Paragraph 45.
   22       46.      Paragraph 46 of the Complaint consists of a legal conclusion to which
   23   no response is required. To the extent a response is required, Defendants deny the
   24   allegations in Paragraph 46.
   25       47.      Paragraph 47 contains no factual allegations against Defendnats and
   26   accordingly no response is required.
   27                             TOLLING AND ESTOPPEL
   28       48.      Defendants deny the allegations in Paragraph 48 of the Complaint.

                                                  5
                                   ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 8 of 12 Page ID #:414


    1       49.      Defendants deny the allegations in Paragraph 49 of the Complaint.
    2       50.      Defendants deny the allegations in Paragraph 50 of the Complaint.
    3       51.      Defendants deny the allegations in Paragraph 51 of the Complaint.
    4       52.      Defendants deny the allegations in Paragraph 52 of the Complaint.
    5       53.      Paragraph 53 of the Complaint contains Plaintiff’s characterization of
    6   contents of the Annual Reports, which documents themselves are the best evidence
    7   of their terms.   To the extent any response is required, Defendants deny the
    8   allegations in Paragraph 53.
    9       54.      Defendants deny the allegations in Paragraph 54 of the Complaint.
   10

   11                             FIRST CAUSE OF ACTION
   12               Breach of Fiduciary Duty for Implementing Service Fee
   13       55.      In response to Paragraph 55 of the Complaint, Defendants repeat and
   14   incorporate, as if set forth fully herein, their responses set forth in the preceding
   15   paragraphs of this Answer.
   16       56.      Defendants admit that the Trustees of the Fund owe fiduciary duties to
   17   the Fund participants. The remaining allegations in Paragraph 56 of the Complaint
   18   consist of legal conclusions to which no response is required. To the extent a
   19   response is required, Defendants deny the allegations in Paragraph 56.
   20       57.      Defendants admit that the Trustees owe fiduciary duties to the Fund
   21   participants and that some Fund participants are not members of AFM or SAG-
   22   AFTRA. Except as so admitted, Defendants deny the allegations in Paragraph 57 of
   23   the Complaint.
   24       58.      Defendants deny the allegations in Paragraph 58 of the Complaint.
   25       59.      Defendants deny the allegations in Paragraph 59 of the Complaint.
   26       60.      Defendants deny the allegations in Paragraph 60 of the Complaint.
   27       61.      Defendants deny the allegations in Paragraph 61 of the Complaint.
   28       62.      Defendants deny the allegations in Paragraph 62 of the Complaint.

                                                    6
                                     ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 9 of 12 Page ID #:415


    1       63.      Defendants deny the allegations in Paragraph 63 of the Complaint.
    2                            SECOND CAUSE OF ACTION
    3                                 Money Had and Received
    4       64.      In response to Paragraph 64 of the Complaint, Defendants repeat and
    5   incorporate, as if set forth fully herein, their responses set forth in the preceding
    6   paragraphs of this Answer.
    7       65.      Defendants deny the allegations in Paragraph 65 of the Complaint.
    8       66.      Defendants deny the allegations in Paragraph 66 of the Complaint.
    9                             THIRD CAUSE OF ACTION
   10                                     Declaratory Relief
   11       67.      In response to Paragraph 67 of the Complaint, Defendants repeat and
   12   incorporate, as if set forth fully herein, their responses set forth in the preceding
   13   paragraphs of this Answer.
   14       68.      Defendants deny the allegations in Paragraph 68 of the Complaint.
   15       69.      Defendants deny the allegations in Paragraph 69 of the Complaint.
   16       70.      Defendants deny the allegations in Paragraph 70 of the Complaint.
   17                           FOURTH CAUSE OF ACTION
   18                                         Conversion
   19       71.      In response to Paragraph 71 of the Complaint, Defendants repeat and
   20   incorporate, as if set forth fully herein, their responses set forth in the preceding
   21   paragraphs of this Answer.
   22       72.      Defendants deny the allegations in Paragraph 72 of the Complaint.
   23       73.      Defendants deny the allegations in Paragraph 73 of the Complaint.
   24       74.      Defendants deny the allegations in Paragraph 74 of the Complaint.
   25       75.      Defendants deny the allegations in Paragraph 75 of the Complaint.
   26       76.      Defendants deny the allegations in Paragraph 76 of the Complaint.
   27       77.      Defendants deny the allegations in Paragraph 77 of the Complaint.
   28       78.      Defendants deny the allegations in Paragraph 78 of the Complaint.

                                                    7
                                     ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 10 of 12 Page ID #:416


     1       79.      Defendants deny the allegations in Paragraph 79 of the Complaint.
     2

     3                                 PRAYER FOR RELIEF
     4       No responsive pleading is necessary in response to Plaintiff’s prayer for relief.
     5   To the extent a responsive pleading is required, Defendants deny that Plaintiff and
     6   the putative class are entitled to the relief sought, and assert that judgment should be
     7   entered in Defendants’ favor.
     8

     9                              AFFIRMATIVE DEFENSES
    10         Pursuant to Rule 8(c) of the Federal Rules of Civil Procedure, Defendants
    11   further plead the following separate and additional defenses. Defendants’ assertion
    12   of the following defenses does not shift the burden of proof, and Defendants do not
    13   in any way agree or concede that they have the burden of proof or persuasion as to
    14   any of these issues. Defendants reserve the right to assert such additional
    15   affirmative defenses as discovery indicates are proper.
    16                          FIRST AFFIRMATIVE DEFENSE
    17                                (Failure to State a Claim)
    18         Plaintiff’s Complaint, and each cause of action therein, fails to state a claim
    19   upon which relief can be granted.
    20                         SECOND AFFIRMATIVE DEFENSE
    21                          (Compliance with Applicable Laws)
    22         Plaintiff’s claims are barred, in whole or in part, because implementation of
    23   the Service Fee complies with 17 U.S.C. § 114(g) and other applicable laws.
    24                          THIRD AFFIRMATIVE DEFENSE
    25                                   (Failure to Exhaust)
    26         Plaintiff’s claims are barred in whole or in part because Plaintiff has failed to
    27   exhaust available administrative remedies prior to filing suit.
    28


                                                    8
                                     ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 11 of 12 Page ID #:417


     1                        FOURTH AFFIRMATIVE DEFENSE
     2                                          (Laches)
     3         Plaintiff’s claims are barred, in whole or in part, by the doctrines of laches,
     4   waiver, and acquiescence.
     5                          FIFTH AFFIRMATIVE DEFENSE
     6                                 (Statute of Limitations)
     7         Plaintiff’s claims are barred, in whole or in part, by the applicable statute of
     8   limitations.
     9                          SIXTH AFFIRMATIVE DEFENSE
    10                     (Punitive Damages – Cal. Civil Code § 3294)
    11         Neither Plaintiff nor the putative class is entitled to recover punitive or
    12   exemplary damages because Plaintiff has failed to allege and cannot establish facts
    13   sufficient to show that Defendants are guilty of oppression, fraud or malice within
    14   the meaning of Section 3294 of the California Civil Code.
    15                        SEVENTH AFFIRMATIVE DEFENSE
    16                           (Punitive Damages – Due Process)
    17         Any award of punitive or exemplary damages to Plaintiff or the putative class
    18   would violate the constitutional rights of Defendants under the United States and
    19   California Constitutions, including but not limited to the Due Process Clause of the
    20   Fifth and Fourteenth Amendments to the United States Constitution and Article I,
    21   Section 7 of the California Constitution because, among other things, (1) any award
    22   of punitive or exemplary damages would be grossly out of proportion to the alleged
    23   wrongful conduct and purported injury alleged herein; (2) there is no legitimate state
    24   interest in punishing the alleged wrongful conduct at issue herein, or in deterring its
    25   possible repetition; (3) the alleged wrongful conduct at issue herein is not
    26   sufficiently reprehensible to warrant the imposition of punitive or exemplary
    27   damages; and (4) the criteria for the imposition of punitive or exemplary damages
    28


                                                    9
                                     ANSWER TO FIRST AMENDED COMPLAINT
Case 2:18-cv-07241-CAS-PLA Document 27 Filed 12/04/18 Page 12 of 12 Page ID #:418


     1   herein are unconstitutionally vague and uncertain and fail to provide fair notice of
     2   what conduct will result in the imposition of such damages.
     3

     4
         Dated:   December 4, 2018                  JENNER & BLOCK LLP
     5

     6
                                                     /s/ Andrew J. Thomas
     7                                               Andrew J. Thomas
                                                     Kenneth L. Doroshow
     8                                               Devi M. Rao
     9                                               Andrew G. Sullivan
    10                                               Attorneys for All Defendants
    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28


                                                   10
                                    ANSWER TO FIRST AMENDED COMPLAINT
